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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

JAMES R. MAZURKIEWICZ,

19-CV-1584-HBS
Plaintiff,

(Consent)
v.

Decision & Order
TIMOTHY B. HOWARD, et al.,

Defendants.

The Coutt has jutisdiction over this matter by consent of the parties. See Dkt. No. 17. Plaintiff
James R. Mazurkiewicz alleges that, in April 2019, employees of Erie County assaulted him while he
was detained in the Erie County Holding Center. He brings this civil-rights action against the
employees, their supervisors, and Erie County, among others. See Dkt. No. 1-1. Initially, Plaintiff
identified the assaultive employees as “John Does 1-10.” Id at 5,

Plaintiff moves to amend his complaint to add the now-identified John Doe employees to his
suit.’ See Dkt. No. 25. Defendants oppose the motion. Dkt. No. 27. For the reasons that follow,
Plaintiff's motion is GRANTED IN PART and DENIED IN PART.

DISCUSSION

At present, Plaintiff has fourteen claims, labelled as follows: (1) Negligence, (2) Violation of
Federal Civil Rights, (3) Respondeat Superior/ Vicatious Liability, (4) Negligent Hiring, (5) Negligent
Retention, (6) Negligent Training and Supervision, (7) Assault, (8) Battery, (9) Battery Committed in

the Performance of a Public Duty, (10) Intentional Infliction of Emotional Distress, (11) Negligent

' The now identified employees ate Lieutenant Bryman, Sergeant Scanio, Deputy Mercado, Lieutenant Franckovick,
Sergeant Webster, Deputy Wilson, Sergeant Weyard Garrett, Deputy Castoire, Lieutenant Balys, Sergeant Scanlon,
Deputy Peplowski, Sergeant Gleason, Deputy Goedtel, and RN Caitlyn Sickau. For ease of reference, the Court will
continue to refer to these individuals as the “John Doe employees.”
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Infliction of Emotional Distress, (12) Failure to Intervene, (13) Failure to Treat, and (14) Conspiracy.

Plaintiff moves to add the John Doe employees—in their official and individual capacities-——as
defendants and, apparently, to all fourteen claims. Dkt. No. 25-14 at 5-7; Dkt. No. 29-1. Plaintiff
acknowledges that the deadline to amend pleadings has passed, see Dkt. No. 18 at 1, and that there
may be an issue concerning the statute of limitations, see Dkt. No. 25-2 at 16, but he argues that there
is good cause to permit the amendment and that his proposed amendments relate back for purposes
of the limitations period. See id. at 13-17.

Defendants do not challenge Plaintiffs arguments concerning good cause and relation back;
they only oppose Plaintiff's motion on the ground that some of the claims against the John Doe
employees would be futile. See Dkt. No. 27. The Court limits its analysis accordingly. See Fresh De/
Monte Produce, Inc. v. Del Monte Foods, Ine., 304 F.R.D. 170, 175-76 (S.D.N.Y. 2014) (discussing “good
cause” requirement under Federal Rule of Civil Procedure 16(b)); Khudan v. Lee, No. 12-CV-8147,
2015 WL 5544316, at *2 (S.D.N.Y. Sept. 17, 201 5) (noting that the statute of limitations is a waivable
affirmative defense).

Rule 15(a) of the Federal Rules of Civil Procedure provides that leave to amend a patty’s
pleading “shall be freely given when justice so requires.” Leave to amend should be given “absent
evidence of undue delay, bad faith or dilatory motive on the part of the movant, undue prejudice to
the opposing patty, or futility.” Monahan v. New York City Dep't of Corrs. 214 F.3d 275, 283 (2d Cir.
2000). Regarding futility, an “amendment to a pleading is futile if the proposed claim could not
withstand a motion to dismiss pursuant to Fed. R. Civ. P. 12(6)(©).” Ferrara v. Smithtown Tracking Co.,
29 F. Supp. 3d 274, 279 (E.D.N.Y. 2014). Courts assess Rule 12(b)(6) motions by “accepting all

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factual allegations in the complaint as true, and drawing all reasonable inferences in the plaintiff's
favor.” Peter F. Gaito Architecture, LLC v. Simone Dev, Corp., 602 F.3d 57, 61 (2d Cir. 2010) (internal
quotation marks and citation omitted). “Simply stated, the question under Rule 12(b)(6) is whether
the facts supporting the claims, if established, create legally cognizable theories of recovery.” Cole-
Hoover v. Shinseké, No. 10-CV-669, 2011 WL 1793256, at *3 (W.D.N.Y. May 9, 2011) Gnternal
quotation marks and citation omitted).

Defendants argue: (1) any § 1983 claims brought against the John Doe employees in their
official capacities are duplicative of such claims brought against Erie County, (2) no § 1983 claim
brought against the John Doe employees in their individual capacities is viable, since all the employees
were “acting in the scope of their employment,” and (3) the John Doe employees cannot be held
liable, based on their own misconduct, on a resbondeat superior theory or for negligent hiring, retention,
training, and supervision. Dkt. No. 27-1 at 5-6. The Court examines each atgument below.

First, the Court agrees with Defendants that proposed claims 2, 12, and 14—-which appear to
plead liability under § 1983—are duplicative to the extent Plaintiff seeks to hold the John Doe
employees liable in their official capacities. “An official capacity suit against a public servant is treated
as one against the governmental entity itself.” Reynolds v. Ginkani, 506 F.3d 183, 191 (2d Cir. 2007).
Consequently, “district courts within the Second Circuit consistently dismiss as duplicative claims
asserted against officials in their official capacities where the plaintiff has named the municipal entity
as a defendant.” Demski v. Town of Enfield, No. 14-CV-1568, 2015 WL 4478401, at *3 (D. Conn. July

22, 2015). In this case, the John Doe employees are alleged to be employees of Erie County, which
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is also named in the suit. Dkt. No. 25-14 at 9. Therefore, it would be duplicative to pursue claims
2, 12, and 14 against the John Doe employees in their official capacities.

Second, Defendants assert that no § 1983 claim may be brought against the John Doe
employees in their individual capacities because they were “acting in the scope of their employment.”
Dkt. No. 27-1 at 5. Defendants’ argument is not entirely clear because, beyond that mete assertion,
they do not cite any authority or fully explain their position. See id. at 5-6. Without more, the Court
declines to address this argument further.” See United States v. Zannino, 895 F.2d 1, 17 (ist Cir. 1990)
(“It is not enough metely to mention a possible argument in the most skeletal way, leaving the court
to do counsel’s work, create the ossature for the argument, and put flesh on its bones.”).

Third, Defendants atgue that the John Doe employees cannot be held liable on a respondeat
superior theory or for negligent hiring, retention, training, or supervision based on their own
misconduct. The Court agrees. Respondeat superior operates to impose liability on an employer for the
misconduct of its employees; it does not impose liability on an employee for his own or his co-
workers’ misconduct. See Connell v. Hayden, 83 A.D.2d 30, 50-51 (N.Y. App. Div. 1981) (noting that
“[cllaims of negligence against coemployees must be based upon allegations of the actual fault of
both”); Rosenfeld v. Lenich, 370 F. Supp. 3d 335, 350 (E.D.N-Y. 2019) (discussing respondeat superior
under New York law). The John Doe employees ate not employers, and therefore cannot be held

liable under respondeat superior.

* It may be that Defendants are referring to the New York common law doctrine under which a claim for negligent
supervision is not cognizable if the employee acted within the scope of his employment. See Casaccia v. City of Rochester,
No. 17-CV-6323, 2018 WL 324420, at *5 (W.D.N_Y. Jan. 8, 2018). That rule does not apply to a federal { 1983 action,
however. See id.

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Similarly, the proposed amended complaint contains no allegations that any of the John Doe
employees hired, retained, supervised, or trained any of their fellow co-employees, which is the basic
factual element for those types of claims. See Dkt. No. 25-14 at 17-22; see also Connell, 83 A.D.2d at
50-51. Given the nature of the allegations in the proposed amended complaint, any claim for
negligent hiring, retention, training, or supervision against the John Doe employees is insufficiently
pleaded and therefore would be futile.

Defendants proffer no other objections to Plaintiffs proposed amended complaint.
Accordingly, the Court concludes that leave to amend should be granted, except as discussed above.

CONCLUSION

For the reasons stated above, Plaintiffs motion to amend (Dkt. No. 25) is GRANTED IN
PART and DENIED IN PART. Plaintiff may file the proposed amended complaint, except that
leave to amend is denied with respect to claims 2, 12, and 14 against the John Doe employees in their
official capacities, and with respect to claims 3, 4, 5, and 6 against the John Doe employees in their
official and individual capacities. Plaintiff has until January 29, 2021 to file an amended complaint
that incorporates those modifications. Once the amended complaint is filed, the Clerk of Court is
directed to amend the caption to reflect the identities of “John Does 1-10.”

SO ORDERED.

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Hon. Hugh B. Scott
United States Magistrate Judge

DATED: January 22, 2021
